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                             U M TED STATES DISTRICT COURT
                             SOUTHVRN DISTRICT OF FLORIDA
                                  CA SE N O.21-6552-5N 0W


   IN RE:M ATERIAL W ITN ESSES:
   VICTOR A LFON SO A RAN G 0 ,
   DEYvIsNOE HEIG ERA-PERXZ,
   JULIO CESAR TORRES CATALX,and
   JOSE M IGU EL GO M EZ DIA Z,


                                   OR DER ofD ISM ISSAL
                THIS CA U SE is before the Courton the U nited States of Am erica's M otion to
   DismisstheMaterialW itnessComplaint. (XCFNo.18) PursuanttoRule48(a)oftheFederal
   RulesofCrim inalprocedure,theUnited StatesAttom eyförtheSouthern DistrictofFloridam oves
   todismisstheMaterialW itnessComplaintwithoutprejudice. Therefore,itishereby
                ORD ERED AN D ADJUD GED thattheGovem m ent'sm otionisGRANTED andthe
   M aterialW itnessComplaiùtasto W CTOR ALFONSO AM NGO,DEYVIS NOE IIERRERA-
   PEREZ,JULIO CESA R TORRES CA TALA ,and JOSE M IGU EL G OM EZ DIAZ isDISM ISSED
   W ITH OUT PREJUDICE.
                DON E AN D ORDERED atFortLauderdale,Florida,thisday 18+ day ofNovember,
   2021.


                                                             A s sNow
                                                                       J.
                                                      IN TBD SYATESMAGISTRATEJIJDGE
   Copiesto:
   A11CounselofRecord
